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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
____________________________________
                                           )
JAMES RANDALL and                          )
GRACIE WHITE f/k/a                         )
GRACIE DORNEUS,                            )
   Individually and on behalf of a class   )          C.A. No. 3:18-CV-30143-MGM
   of persons similarly situated,          )
                                           )
         Plaintiff,                        )
                                           )          LEAVE TO FILE GRANTED ON
v.                                         )          MAY 22, 2019
                                           )
ALLY FINANCIAL INC.,                       )
                                           )
         Defendant.                        )
___________________________________ )

                   SECOND AMENDED CLASS ACTION COMPLAINT
                                   I.         INTRODUCTION

       This is an action brought on behalf of James Randall, Gracie White, and a putative class

of Massachusetts consumers similarly injured by the unlawful debt collection and car

repossession practices of the defendant, Ally Financial Inc. (“Ally”). After repossessing the

Plaintiffs’ and other class members’ vehicles, Ally sent them form post-repossession notices that

failed to include key provisions required by law. The failure to provide a consumer with all

appropriate repossession notices and information required by Massachusetts law gives rise to

statutory and other damages.

                                        II.     PARTIES

       1.      Plaintiff James Randall resides in North Adams, Massachusetts.

       2.      Plaintiff Gracie White (formerly known as Gracie Dorneus) resides in Medford,

Massachusetts.




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       3.      The Defendant, Ally Financial Inc., is a credit lender with a principal office

located at 500 Woodward Ave Detroit, MI 48226 and registered agent, CT Corporation System,

located at 155 Federal St., Suite 700, Boston, Massachusetts 02110.

                              III.    JURISDICTION AND VENUE

       4.      Jurisdiction and venue is proper in this Court as the Defendant is a corporation

subject to suit under M.G.L. c. 223 §§ 1, 8 and has a registered agency in Suffolk County.

                                IV.    STATEMENT OF FACTS

       5.      Ally is a credit lender that enters into many types of consumer loans, including

auto loans in Massachusetts.

Facts Related to James Randall

       6.      On or around March 16, 2017, Mr. Randall entered into a loan agreement with

Ally for the purchase of a Jeep Grand Cherokee (the “vehicle” or “automobile”).

       7.      The loan agreement included an amount financed of $10,937.50.

       8.      The debt was incurred by Mr. Randall for primarily personal, family, or

household purposes.

       9.      The purchase of the vehicle was a consumer-goods transaction, as defined in

M.G.L. c. 106, § 9-102(24).

       10.     On or about October 26, 2017, Ally repossessed the automobile.

       11.     On or around April 19, 2018, Ally sent Mr. Randall a notice (the “Repossession

Notice”) advising him of the repossession and of its intent to sell the vehicle. See Exhibit A,

Repossession Notice.

       12.     The Repossession Notice erroneously states that “[t]he money that [Ally] get[s]

from the sale (after paying our costs) will reduce the amount you owe. If we get less money than



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you owe, you may still owe us the difference.” Massachusetts law, however, requires that

consumers be given explicit notice that the fair market value of the vehicle, not the sale price,

will be deducted from the amount they would owe on their loans after the sale of their vehicle.

Facts Related to Gracie White

          13.   On or around May 13, 2016, Ms. White entered into a loan agreement with Ally

for the purchase of a Mercedes Benz C-Class (the “vehicle” or “automobile”).

          14.   The loan agreement included an amount financed of $17,109.

          15.   The debt was incurred by Ms. White for primarily personal, family, or household

purposes.

          16.   The purchase of the vehicle was a consumer-goods transaction, as defined in

M.G.L. c. 106, § 9-102(24).

          17.   On or about October 31, 2018, Ally repossessed the automobile.

          18.   In November 2018, Ally sent Ms. White a notice (the “Repossession Notice”)

advising her of the repossession and of its intent to sell the vehicle. See Exhibit B, Repossession

Notice.

          19.   The Repossession Notice erroneously states that “[t]he money that [Ally] get[s]

from the sale (after paying our costs) will reduce the amount you owe. If we get less money than

you owe, you may still owe us the difference.” Massachusetts law, however, requires that

consumers be given explicit notice that the fair market value of the vehicle, not the sale price,

will be deducted from the amount they would owe on their loans after the sale of their vehicle.

          20.   On information and belief, Ally sent form notices to at least 40 other

Massachusetts consumers that were identical and/or substantially similar to the Repossession

Notices attached as Exhibit A and Exhibit B, and which also failed to comply with



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Massachusetts law, in the four years preceding the date of the filing of this action.

                                V.        CLASS ALLEGATIONS

21.     Plaintiffs bring this action on behalf of a class of all other Ally customers so similarly

situated.

22.     The class consists of all persons to whom Ally sent a notice identical and/or substantially

similar to the Repossession Notices attached as Exhibit A and Exhibit B at any time during the

four-year period prior to the commencement of this action.

23.     The class is sufficiently numerous that joinder of all members is impracticable.

24.     On information and belief, the class encompasses at least 40 customers.

25.     There are questions of law and fact which are common to all members of the classes.

These questions predominate over any question affecting only individual class members. The

gravamen of this complaint is based on the form post-repossession notices and which were sent

to all potential class members and loan interest rates that affected them in a similar manner.

26.     Plaintiffs’ claims are typical of the claims of members of the class as all claims are based

on the same factual and legal theories.

27.     Plaintiffs will fairly and adequately represent the interests of class members. Plaintiffs

have no conflict with any members of the class and are capable and willing to serve as class

representatives. They have retained counsel competent and experienced in class action litigation.

28.     Certification of this class pursuant to Mass. R. Civ. P. 23 is appropriate. Common

questions of law and fact predominate over individual questions. Among the questions of law

and fact common to Plaintiffs and the class are:

                 a. Whether Ally failed to provide consumers with the rights and disclosures
                    mandated by the Massachusetts Uniform Commercial Code;




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                 b. Whether Ally failed to provide the description of the borrower’s liability for a
                    deficiency, violating UCC § 9-614(1)(B); and

                 c. Whether Ally breached its duty of good faith in violation of M.G.L. c. 106 §
                    1-304.

29.       A class action is superior to other available methods for the fair and efficient adjudication

of the controversy, in that:

                 a.      The individual class members are not aware that they have been
                         wronged and are thus unable to prosecute individual actions;

                 b.      A failure of justice will result from the absence of a class action;

                 c.      Concentration of the litigation concerning this matter in this Court
                         is desirable;

                d.       Class treatment is highly efficient given the use of common forms and
                         procedures;

                 e.      The amounts at issue for individual class members are not
                         substantial enough to make individual actions economic; and

                 f.      The class is of moderate size and no difficulties are likely to be
                         encountered in the management of a class action.

                                     VI. CAUSES OF ACTION

                               CLASS ACTION CAUSES OF ACTION

30.       For all counts that follow, the Plaintiffs hereby reallege and incorporate by reference the

facts and allegations contained in the preceding paragraphs of this pleading as if fully set forth

herein.

                                             COUNT I
                         Violation of the Massachusetts Commercial Code
                                           (Against Ally)

31.       Article 9 of the Massachusetts Commercial Code, M.G.L. c. 106 § 9-101 et seq., imposes

duties on lenders who receive or retain security interests in personal property and conduct private




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repossessions of that property without first obtaining writ of replevin or other appropriate court

order.

32.      By entering into loan agreements, Ally engaged in “consumer-goods transactions” for

purposes of M.G.L. c. 106 § 9-102(24).

33.      After repossessing Plaintiffs’ vehicles and before selling it, Ally had a duty to comply

with the notice provisions of M.G.L. c. 106 § 9-614.

34.      Pursuant to M.G.L. c. 106 § 9-614(1), in a consumers-goods transaction, a post-

repossession, pre-sale notification must provide the following information:

                       d.      The information specified in Section 9-613(1);

                       e.      A description of any liability for a deficiency of the person to

                       which the notification is sent;

                       f.      A telephone number from which the amount that must be paid the

                       secured party to redeem the collateral under Section 9-623 is available;

                       g.      A telephone number or mailing address from which additional

                       information concerning the disposition and the obligation secured is

                       available.

35.      Section 9-614 incorporates a list of information in Section 9-613(1), which states that a

notice must:

                    h. Describe the debtor and the secured party;

                    i. Describe the collateral that is the subject of the intended disposition;

                    j. State the method of intended disposition;

                    k. State that the debtor is entitled to an accounting of the unpaid indebtedness

                       and states the charge, if any, for an accounting; and



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                   l. State the time and place of a public disposition or the time after which any

                       other disposition is to be made.

36.     Ally failed to comply with Article 9 by incorrectly describing class members’ potential

liability for a deficiency, giving rise to a claim for minimum and statutory damages as provided

by the statute.

37.     M.G.L. c. 106 § 9-625(c)(2) states that any violation of Article 9 gives rise to a claim for

damages in a minimum amount of the credit service charge plus 10 per cent of the principal

amount of the obligation.

        WHEREFORE, the Plaintiffs pray that the Court:

        1. Certify this case as a class action pursuant to Mass. R. Civ. P. 23;

        2. Appoint Mr. Randall and Ms. White as class representatives and the undersigned as

            class counsel;

        3. Enter judgment against Ally for minimum and statutory damages pursuant to Article

            9 of the Massachusetts Commercial Code on behalf of the Plaintiffs and class

            members;

        4. Bar and declare unenforceable any deficiency loan balances owed by class members

            to Ally for its violations of Article 9 of the Massachusetts Commercial Code; and

        5. Grant such other relief as the Court deems just.




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                                                   Respectfully submitted,

                                                   JAMES RANDALL AND
                                                   GRACIE WHITE,
                                                   By their attorneys,

                                                   /s/ Raven Moeslinger
                                                   _____________________________
                                                   Raven Moeslinger (BBO# 687956)
                                                   Nicholas F. Ortiz (BBO# 655135)
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Dated: May 22, 2019



                               CERTIFICATE OF SERVICE
       I, Raven Moeslinger, hereby certify that today I caused to be served the within document
on counsel for the defendant via ECF service.
                                    /s/ Raven Moeslinger




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